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                       Exhibit 17
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                  Agreement on the Gaza Strip and the Jericho Area

                                   Cairo, May 4, 1994

    Preamble

    Within the framework of the Middle East peace process initiated at Madrid in
    October 1991;

    Reaffirming their determination to live in peaceful coexistence, mutual dignity and
    security, while recognizing their mutual legitimate and political rights;

    Reaffirming their desire to achieve a just, lasting and comprehensive peace
    settlement through the agreed political process;

    Reaffirming their adherence to the mutual recognition and commitments
    expressed in the letters dated September 9, 1993 , signed by and exchanged
    between the Prime Minister of Israel and the Chairman of the PLO;

    Reaffirming their understanding that the interim self-government arrangements,
    including the arrangements to apply in the Gaza Strip and the Jericho Area
    contained in this Agreement, are an integral part of the whole peace process and
    that the negotiations on the permanent status will lead to the implementation of
    Security Council Resolutions 242 and 338;

    Desirous of putting into effect the Declaration of Principles on Interim Self-
    Government Arrangements signed at Washington, D.C. on September 13, 1993,
    and the Agreed Minutes thereto (hereinafter "the Declaration of Principles"), and
    in particular the Protocol on withdrawal of Israeli forces from the Gaza Strip and
    the Jericho Area;

    Hereby agree to the following arrangements regarding the Gaza Strip and the
    Jericho Area:

    Article I
    Definitions

    For the purpose of this Agreement:

       a. the Gaza Strip and the Jericho Area are delineated on map No. 1 and map
          No. 2 attached to this Agreement;
       b. "the Settlements" means the Gush Katif and Erez settlement areas, as
          well as the other settlements in the Gaza Strip, as shown on attached map
          No. 1;
       c. "the Military Installation Area" means the Israeli military installation area
          along the Egyptian border in the Gaza Strip, as shown on map No. 1; and
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       d. the term "Israelis" shall also include Israeli statutory agencies and
          corporations registered in Israel.

    Article II
    Scheduled Withdrawal of Israeli Military Forces

       1. Israel shall implement an accelerated and scheduled withdrawal of Israeli
          military forces from the Gaza Strip and from the Jericho Area to begin
          immediately with the signing of this Agreement. Israel shall complete such
          withdrawal within three weeks from this date.
       2. Subject to the arrangements included in the Protocol Concerning
          Withdrawal of Israeli Military Forces and Security Arrangements attached
          as Annex I , the Israeli withdrawal shall include evacuating all military
          bases and other fixed installations to be handed over to the Palestinian
          Police, to be established pursuant to Article IX below (hereinafter "the
          Palestinian Police").
       3. In order to carry out Israel's responsibility for external security and for
          internal security and public order of Settlements and Israelis, Israel shall,
          concurrently with the withdrawal, redeploy its remaining military forces to
          the Settlements and the Military Installation Area, in accordance with the
          provisions of this Agreement. Subject to the provisions of this Agreement,
          this redeployment shall constitute full implementation of Article XIII of the
          Declaration of Principles with regard to the Gaza Strip and the Jericho
          Area only.
       4. For the purposes of this Agreement, "Israeli military forces" may include
          Israel police and other Israeli security forces.
       5. Israelis, including Israeli military forces, may continue to use roads freely
          within the Gaza Strip and the Jericho Area. Palestinians may use public
          roads crossing the Settlements freely, as provided for in Annex I.
       6. The Palestinian Police shall be deployed and shall assume responsibility
          for public order and internal security of Palestinians in accordance with
          this Agreement and Annex I.

    Article III
    Transfer of Authority

       1. Israel shall transfer authority as specified in this Agreement from the
          Israeli military government and its Civil Administration to the Palestinian
          Authority, hereby established, in accordance with Article V of this
          Agreement, except for the authority that Israel shall continue to exercise
          as specified in this Agreement.
       2. As regards the transfer and assumption of authority in civil spheres,
          powers and responsibilities shall be transferred and assumed as set out in
          the Protocol Concerning Civil Affairs attached as Annex II .
       3. Arrangements for a smooth and peaceful transfer of the agreed powers
          and responsibilities are set out in Annex II.
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       4. Upon the completion of the Israeli withdrawal and the transfer of powers
          and responsibilities as detailed in paragraphs 1 and 2 above and in Annex
          II, the Civil Administration in the Gaza Strip and the Jericho Area will be
          dissolved and the Israeli military government will be withdrawn. The
          withdrawal of the military government shall not prevent it from continuing
          to exercise the powers and responsibilities specified in this Agreement.
       5. A Joint Civil Affairs Coordination and Cooperation Committee (hereinafter
          "the CAC") and two Joint Regional Civil Affairs Subcommittees for the
          Gaza Strip and the Jericho Area respectively shall be established in order
          to provide for coordination and cooperation in civil affairs between the
          Palestinian Authority and Israel, as detailed in Annex II.
       6. The offices of the Palestinian Authority shall be located in the Gaza Strip
          and the Jericho Area pending the inauguration of the Council to be elected
          pursuant to the Declaration of Principles.

    Article IV
    Structure and Composition of the Palestinian Authority

       1. The Palestinian Authority will consist of one body of 24 members which
          shall carry out and be responsible for all the legislative and executive
          powers and responsibilities transferred to it under this Agreement, in
          accordance with this Article, and shall be responsible for the exercise of
          judicial functions in accordance with Article VI, subparagraph 1.b. of this
          Agreement.
       2. The Palestinian Authority shall administer the departments transferred to it
          and may establish, within its jurisdiction, other departments and
          subordinate administrative units as necessary for the fulfillment of its
          responsibilities. It shall determine its own internal procedures.
       3. The PLO shall inform the Government of Israel of the names of the
          members of the Palestinian Authority and any change of members.
          Changes in the membership of the Palestinian Authority will take effect
          upon an exchange of letters between the PLO and the Government of
          Israel.
       4. Each member of the Palestinian Authority shall enter into office upon
          undertaking to act in accordance with this Agreement.

    Article V
    Jurisdiction

       1. The authority of the Palestinian Authority encompasses all matters that fall
          within its territorial, functional and personal jurisdiction, as follows:
              a. The territorial jurisdiction covers the Gaza Strip and the Jericho
                  Area territory, as defined in Article I, except for Settlements and the
                  Military Installation Area. Territorial jurisdiction shall include land,
                  subsoil and territorial waters, in accordance with the provisions of
                  this Agreement.
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              b. The functional jurisdiction encompasses all powers and
                 responsibilities as specified in this Agreement. This jurisdiction
                 does not include foreign relations, internal security and public order
                 of Settlements and the Military Installation Area and Israelis, and
                 external security.
              c. The personal jurisdiction extends to all persons within the territorial
                 jurisdiction referred to above, except for Israelis, unless otherwise
                 provided in this Agreement.
       2. The Palestinian Authority has, within its authority, legislative, executive
          and judicial powers and responsibilities, as provided for in this Agreement.
       3.
              a. Israel has authority over the Settlements, the Military Installation
                 Area, Israelis, external security, internal security and public order of
                 Settlements, the Military Installation Area and Israelis, and those
                 agreed powers and responsibilities specified in this Agreement.
              b. Israel shall exercise its authority through its military government,
                 which, for that end, shall continue to have the necessary legislative,
                 judicial and executive powers and responsibilities, in accordance
                 with international law. This provision shall not derogate from Israel's
                 applicable legislation over Israelis in personam.
       4. The exercise of authority with regard to the electromagnetic sphere and
          airspace shall be in accordance with the provisions of this Agreement.
       5. The provisions of this Article are subject to the specific legal arrangements
          detailed in the Protocol Concerning Legal Matters attached as Annex III .
          Israel and the Palestinian Authority may negotiate further legal
          arrangements.
       6. Israel and the Palestinian Authority shall cooperate on matters of legal
          assistance in criminal and civil matters through the legal subcommittee of
          the CAC.

    Article VI
    Powers and Responsibilities of the Palestinian Authority

       1. Subject to the provisions of this Agreement, the Palestinian Authority,
          within its jurisdiction:
              a. has legislative powers as set out in Article VII of this Agreement, as
                  well as executive powers;
              b. will administer justice through an independent judiciary;
              c. will have, inter alia, power to formulate policies, supervise their
                  implementation, employ staff, establish departments, authorities
                  and institutions, sue and be sued and conclude contracts; and
              d. will have, inter alia, the power to keep and administer registers and
                  records of the population, and issue certificates, licenses and
                  documents.
       2.
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              a. In accordance with the Declaration of Principles, the Palestinian
                 Authority will not have powers and responsibilities in the sphere of
                 foreign relations, which sphere includes the establishment abroad
                 of embassies, consulates or other types of foreign missions and
                 posts or permitting their establishment in the Gaza Strip or the
                 Jericho Area, the appointment of or admission of diplomatic and
                 consular staff, and the exercise of diplomatic functions.
              b. Notwithstanding the provisions of this paragraph, the PLO may
                 conduct negotiations and sign agreements with states or
                 international organizations for the benefit of the Palestinian
                 Authority in the following cases only:
                     1. economic agreements, as specifically provided in Annex IV
                        of this Agreement;
                     2. agreements with donor countries for the purpose of
                        implementing arrangements for the provision of assistance
                        to the Palestinian Authority;
                     3. agreements for the purpose of implementing the regional
                        development plans detailed in Annex IV of the Declaration of
                        Principles or in agreements entered into in the framework of
                        the multilateral negotiations; and
                     4. cultural, scientific and educational agreements.
              c. Dealings between the Palestinian Authority and representatives of
                 foreign states and international organizations, as well as the
                 establishment in the Gaza Strip and the Jericho Area of
                 representative offices other than those described in subparagraph
                 2.a. above, for the purpose of implementing the agreements
                 referred to in subparagraph 2.b. above, shall not be considered
                 foreign relations.

    Article VII
    Legislative Powers of the Palestinian Authority

       1. The Palestinian Authority will have the power, within its jurisdiction, to
          promulgate legislation, including basic laws, laws, regulations and other
          legislative acts.
       2. Legislation promulgated by the Palestinian Authority shall be consistent
          with the provisions of this Agreement.
       3. Legislation promulgated by the Palestinian Authority shall be
          communicated to a legislation subcommittee to be established by the CAC
          (hereinafter "the Legislation Subcommittee"). During a period of 30 days
          from the communication of the legislation, Israel may request that the
          Legislation Subcommittee decide whether such legislation exceeds the
          jurisdiction of the Palestinian Authority or is otherwise inconsistent with the
          provisions of this Agreement.
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       4. Upon receipt of the Israeli request, the Legislation Subcommittee shall
           decide, as an initial matter, on the entry into force of the legislation
           pending its decision on the merits of the matter.
       5. If the Legislation Subcommittee is unable to reach a decision with regard
           to the entry into force of the legislation within 15 days, this issue will be
           referred to a board of review. This board of review shall be comprised of
           two judges, retired judges or senior jurists (hereinafter "Judges"), one from
           each side, to be appointed from a compiled list of three Judges proposed
           by each.
       6. In order to expedite the proceedings before this board of review, the two
           most senior Judges, one from each side, shall develop written informal
           rules of procedure.
       7. Legislation referred to the board of review shall enter into force only if the
           board of review decides that it does not deal with a security issue which
           falls under Israel's responsibility, that it does not seriously threaten other
           significant Israeli interests protected by this Agreement and that the entry
           into force of the legislation could not cause irreparable damage or harm.
       8. The Legislation Subcommittee shall attempt to reach a decision on the
           merits of the matter within 30 days from the date of the Israeli request. If
           this Subcommittee is unable to reach such a decision within this period of
           30 days, the matter shall be referred to the Joint Israeli-Palestinian Liaison
           Committee referred to in Article XV below (hereinafter "the Liaison
           Committee"). This Liaison Committee will deal with the matter immediately
           and will attempt to settle it within 30 days.
       9. Where the legislation has not entered into force pursuant to paragraphs 5
           or 7 above, this situation shall be maintained pending the decision of the
           Liaison Committee on the merits of the matter, unless it has decided
           otherwise.
       10. Laws and military orders in effect in the Gaza Strip or the Jericho Area
           prior to the signing of this Agreement shall remain in force, unless
           amended or abrogated in accordance with this Agreement.

    Article VIII
    Arrangements for Security and Public Order

       1. In order to guarantee public order and internal security for the Palestinians
          of the Gaza Strip and the Jericho Area, the Palestinian Authority shall
          establish a strong police force, as set out in Article IX below. Israel shall
          continue to carry the responsibility for defense against external threats,
          including the responsibility for protecting the Egyptian border and the
          Jordanian line, and for defense against external threats from the sea and
          from the air, as well as the responsibility for overall security of Israelis and
          Settlements, for the purpose of safeguarding their internal security and
          public order, and will have all the powers to take the steps necessary to
          meet this responsibility.
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       2. Agreed security arrangements and coordination mechanisms are specified
          in Annex I.
       3. A joint Coordination and Cooperation Committee for mutual security
          purposes (hereinafter "the JSC"), as well as three joint District
          Coordination and Cooperation Offices for the Gaza district, the Khan
          Yunis district and the Jericho district respectively (hereinafter "the DCOs")
          are hereby established as provided for in Annex I.
       4. The security arrangements provided for in this Agreement and in Annex I
          may be reviewed at the request of either Party and may be amended by
          mutual agreement of the Parties. Specific review arrangements are
          included in Annex I.

    Article IX
    The Palestinian Directorate of Police Force

       1. The Palestinian Authority shall establish a strong police force, the
          Palestinian Directorate of Police Force (hereinafter "the Palestinian
          Police"). The duties, functions, structure, deployment and composition of
          the Palestinian Police, together with provisions regarding its equipment
          and operation, are set out in Annex I, Article III. Rules of conduct
          governing the activities of the Palestinian Police are set out in Annex I,
          Article VIII.
       2. Except for the Palestinian Police referred to in this Article and the Israeli
          military forces, no other armed forces shall be established or operate in
          the Gaza Strip or the Jericho Area.
       3. Except for the arms, ammunition and equipment of the Palestinian Police
          described in Annex I, Article III, and those of the Israeli military forces, no
          organization or individual in the Gaza Strip and the Jericho Area shall
          manufacture, sell, acquire, possess, import or otherwise introduce into the
          Gaza Strip or the Jericho Area any firearms, ammunition, weapons,
          explosives, gunpowder or any related equipment, unless otherwise
          provided for in Annex I.

    Article X
    Passages

    Arrangements for coordination between Israel and the Palestinian Authority
    regarding the Gaza-Egypt and Jericho-Jordan passages, as well as any other
    agreed international crossings, are set out in Annex I, Article X.

    Article XI
    Safe Passage Between the Gaza Strip and the Jericho Area

    Arrangements for safe passage of persons and transportation between the Gaza
    Strip and the Jericho Area are set out in Annex I, Article IX.
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    Article XII
    Relations Between Israel and the Palestinian Authority

       1. Israel and the Palestinian Authority shall seek to foster mutual
          understanding and tolerance and shall accordingly abstain from
          incitement, including hostile propaganda, against each other and, without
          derogating from the principle of freedom of expression, shall take legal
          measures to prevent such incitement by any organizations, groups or
          individuals within their jurisdiction.
       2. Without derogating from the other provisions of this Agreement, Israel and
          the Palestinian Authority shall cooperate in combatting criminal activity
          which may affect both sides, including offenses related to trafficking in
          illegal drugs and psychotropic substances, smuggling, and offenses
          against property, including offenses related to vehicles.

    Article XIII
    Economic Relations

    The economic relations between the two sides are set out in the Protocol on
    Economic Relations signed in Paris on April 29, 1994 and the Appendices
    thereto, certified copies of which are attached as Annex IV, and will be governed
    by the relevant provisions of this Agreement and its Annexes.

    Article XIV
    Human Rights and the Rule of Law

    Israel and the Palestinian Authority shall exercise their powers and
    responsibilities pursuant to this Agreement with due regard to internationally-
    accepted norms and principles of human rights and the rule of law.

    Article XV
    The Joint Israeli-Palestinian Liaison Committee

       1. The Liaison Committee established pursuant to Article X of the
          Declaration of Principles shall ensure the smooth implementation of this
          Agreement. It shall deal with issues requiring coordination, other issues of
          common interest and disputes.
       2. The Liaison Committee shall be composed of an equal number of
          members from each Party. It may add other technicians and experts as
          necessary.
       3. The Liaison Committee shall adopt its rules of procedure, including the
          frequency and place or places of its meetings.
       4. The Liaison Committee shall reach its decisions by Agreement.

    Article XVI
    Liaison and Cooperation with Jordan and Egypt
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       1. Pursuant to Article XII of the Declaration of Principles, the two Parties
          shall invite the Governments of Jordan and Egypt to participate in
          establishing further liaison and cooperation arrangements between the
          Government of Israel and the Palestinian representatives on the one
          hand, and the Governments of Jordan and Egypt on the other hand, to
          promote cooperation between them. These arrangements shall include the
          constitution of a Continuing Committee.
       2. The Continuing Committee shall decide by agreement on the modalities of
          admission of persons displaced from the West Bank and the Gaza Strip in
          1967, together with necessary measures to prevent disruption and
          disorder.
       3. The Continuing Committee shall deal with other matters of common
          concern.

    Article XVII
    Settlement of Differences and Disputes

    Any difference relating to the application of this Agreement shall be referred to
    the appropriate coordination and cooperation mechanism established under this
    Agreement. The provisions of Article XV of the Declaration of Principles shall
    apply to any such difference which is not settled through the appropriate
    coordination and cooperation mechanism, namely:

       1. Disputes arising out of the application or interpretation of this Agreement
          or any subsequent agreements pertaining to the interim period shall be
          settled by negotiations through the Liaison Committee.
       2. Disputes which cannot be settled by negotiations may be settled by a
          mechanism of conciliation to be agreed between the Parties.
       3. The Parties may agree to submit to arbitration disputes relating to the
          interim period, which cannot be settled through conciliation. To this end,
          upon the agreement of both Parties, the Parties will establish an
          Arbitration Committee.

    Article XVIII
    Prevention of Hostile Acts

    Both sides shall take all measures necessary in order to prevent acts of
    terrorism, crime and hostilities directed against each other, against individuals
    falling under the other's authority and against their property, and shall take legal
    measures against offenders. In addition, the Palestinian side shall take all
    measures necessary to prevent such hostile acts directed against the
    Settlements, the infrastructure serving them and the Military Installation Area,
    and the Israeli side shall take all measures necessary to prevent such hostile
    acts emanating from the Settlements and directed against Palestinians.
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    Article XIX
    Missing Persons

    The Palestinian Authority shall cooperate with Israel by providing all necessary
    assistance in the conduct of searches by Israel within the Gaza Strip and the
    Jericho Area for missing Israelis, as well as by providing information about
    missing Israelis. Israel shall cooperate with the Palestinian Authority in searching
    for, and providing necessary information about, missing Palestinians.

    Article XX
    Confidence Building Measures

    With a view to creating a positive and supportive public atmosphere to
    accompany the implementation of this Agreement, and to establish a solid basis
    of mutual trust and good faith, both Parties agree to carry out confidence building
    measures as detailed herewith:

       1. Upon the signing of this Agreement, Israel will release, or turn over, to the
          Palestinian Authority within a period of 5 weeks, about 5,000 Palestinian
          detainees and prisoners, residents of the West Bank and the Gaza Strip.
          Those released will be free to return to their homes anywhere in the West
          Bank or the Gaza Strip. Prisoners turned over to the Palestinian Authority
          shall be obliged to remain in the Gaza Strip or the Jericho Area for the
          remainder of their sentence.
       2. After the signing of this Agreement, the two Parties shall continue to
          negotiate the release of additional Palestinian prisoners and detainees,
          building on agreed principles.
       3. The implementation of the above measures will be subject to the
          fulfillment of the procedures determined by Israeli law for the release and
          transfer of detainees and prisoners.
       4. With the assumption of Palestinian authority, the Palestinian side commits
          itself to solving the problem of those Palestinians who were in contact with
          the Israeli authorities. Until an agreed solution is found, the Palestinian
          side undertakes not to prosecute these Palestinians or to harm them in
          any way.
       5. Palestinians from abroad whose entry into the Gaza Strip and the Jericho
          Area is approved pursuant to this Agreement, and to whom the provisions
          of this Article are applicable, will not be prosecuted for offenses committed
          prior to September 13, 1993.

    Article XXI
    Temporary International Presence

       1. The Parties agree to a temporary international or foreign presence in the
          Gaza Strip and the Jericho Area (hereinafter "the TIP"), in accordance
          with the provisions of this Article.
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       2. The TIP shall consist of 400 qualified personnel, including observers,
          instructors and other experts, from 5 or 6 of the donor countries.
       3. The two Parties shall request the donor countries to establish a special
          fund to provide finance for the TIP.
       4. The TIP will function for a period of 6 months. The TIP may extend this
          period, or change the scope of its operation, with the agreement of the two
          Parties.
       5. The TIP shall be stationed and operate within the following cities and
          villages: Gaza, Khan Yunis, Rafah, Deir El Ballah, Jabaliya, Absan, Beit
          Hanun and Jericho.
       6. Israel and the Palestinian Authority shall agree on a special Protocol to
          implement this Article, with the goal of concluding negotiations with the
          donor countries contributing personnel within two months.

    Article XXII
    Rights, Liabilities and Obligations

       1.
              a. The transfer of all powers and responsibilities to the Palestinian
                  Authority, as detailed in Annex II, includes all related rights,
                  liabilities and obligations arising with regard to acts or omissions
                  which occurred prior to the transfer. Israel will cease to bear any
                  financial responsibility regarding such acts or omissions and the
                  Palestinian Authority will bear all financial responsibility for these
                  and for its own functioning.
              b. Any financial claim made in this regard against Israel will be
                  referred to the Palestinian Authority.
              c. Israel shall provide the Palestinian Authority with the information it
                  has regarding pending and anticipated claims brought before any
                  court or tribunal against Israel in this regard.
              d. Where legal proceedings are brought in respect of such a claim,
                  Israel will notify the Palestinian Authority and enable it to participate
                  in defending the claim and raise any arguments on its behalf.
              e. In the event that an award is made against Israel by any court or
                  tribunal in respect of such a claim, the Palestinian Authority shall
                  reimburse Israel the full amount of the award.
              f. Without prejudice to the above, where a court or tribunal hearing
                  such a claim finds that liability rests solely with an employee or
                  agent who acted beyond the scope of the powers assigned to him
                  or her, unlawfully or with willful malfeasance, the Palestinian
                  Authority shall not bear financial responsibility.
       2. The transfer of authority in itself shall not affect rights, liabilities and
          obligations of any person or legal entity, in existence at the date of signing
          of this Agreement.
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    Article XXIII
    Final Clauses

       1. This Agreement shall enter into force on the date of its signing.
       2. The arrangements established by this Agreement shall remain in force
          until and to the extent superseded by the Interim Agreement referred to in
          the Declaration of Principles or any other agreement between the Parties.
       3. The five-year interim period referred to in the Declaration of Principles
          commences on the date of the signing of this Agreement.
       4. The Parties agree that, as long as this Agreement is in force, the security
          fence erected by Israel around the Gaza Strip shall remain in place and
          that the line demarcated by the fence, as shown on attached map No. 1,
          shall be authoritative only for the purpose of this Agreement.
       5. Nothing in this Agreement shall prejudice or preempt the outcome of the
          negotiations on the interim agreement or on the permanent status to be
          conducted pursuant to the Declaration of Principles. Neither Party shall be
          deemed, by virtue of having entered into this Agreement, to have
          renounced or waived any of its existing rights, claims or positions.
       6. The two Parties view the West Bank and the Gaza Strip as a single
          territorial unit, the integrity of which will be preserved during the interim
          period.
       7. The Gaza Strip and the Jericho Area shall continue to be an integral part
          of the West Bank and the Gaza Strip, and their status shall not be
          changed for the period of this Agreement. Nothing in this Agreement shall
          be considered to change this status.
       8. The Preamble to this Agreement, and all Annexes, Appendices and maps
          attached hereto, shall constitute an integral part hereof.


    Done in Cairo this fourth day of May, 1994.

    For the Government of the State of Israel:
    For the PLO:

    Witnessed By:

    The United States of America
    The Russian Federation
    The Arab Republic of Egypt

    Source: http://www.knesset.gov.il/process/docs/cairo_agreement_eng.htm
